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                                                     :   UNITED STATES BANKRUPTCY COURT
    In re:                                           :   FOR THE DISTRICT OF NEW JERSEY
    SHAPES/ARCH HOLDINGS L.L.C., et                  :   CHAPTER 11
    al.,                                             :
                 Debtors.                            :   CASE NO. 08-14631 (GMB)
                                                     :
                                                     :

              DEBTORS’ OBJECTION TO ADMINISTRATIVE CLAIMS OF
                 TEAMSTERS LOCAL 837 PENSION FUND SEEKING
               RECLASSIFICATION AS GENERAL UNSECURED CLAIM
               AND EXPUNGEMENT OF DUPLICATE PROOF OF CLAIM
           Shapes/Arch Holdings L.L.C. and its related debtor entities (collectively, the

    “Debtors”),1 the debtors and debtors-in-possession, hereby submit this objection (the

    “Objection”), pursuant to 11 U.S.C. §§ 105, 502(b) and 503 and Rule 3007 of the Federal

    Rules of Bankruptcy Procedure (the “Bankruptcy Procedure”), seeking an Order

    reclassifying the Teamsters Local 837 Pension Fund (“Local 837 Pension Plan”) proof of

    claim from administrative to general unsecured and expunging the duplicate claim. In

    support of the Objection, the Debtors respectfully represent as follows:




    1
      In addition to Shapes/Arch Holdings L.L.C. (“Shapes/Arch”), the following entities, all of
    which are wholly owned subsidiaries of Shapes/Arch, also filed petitions on the Petition Date
    (defined below): Shapes L.L.C. (“Shapes”); Delair L.L.C. (“Delair”); Accu-Weld L.L.C. (“Accu-
    Weld”); and Ultra L.L.C. (“Ultra”).


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                                       BACKGROUND

                                            General

            1.    On March 16, 2008 (the “Petition Date”), the Debtors filed their respective

    petitions for relief under Chapter 11, Title 11 of the United States Code (the “Bankruptcy

    Code”). The Debtors are authorized to continue to operate and manage their properties

    as debtors-in-possession pursuant to 11 U.S.C. §§ 1107(a) and 1108.

            2.    These cases are being jointly administered pursuant to this Court’s Order

    of March 18, 2008 under the lead debtor “Shapes/Arch Holdings L.L.C.”

            3.    No trustee or examiner has been appointed in these cases.

            4.    An official committee of unsecured creditors (the “Committee”) was

    appointed on March 31, 2008, and has been active in these cases since that time.

            5.    The Court has jurisdiction over this Objection pursuant to 28 U.S.C. §

    1334.   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.           This is a core

    proceeding pursuant to 28 U.S.C. § 157(b)(2).

            6.    Shapes/Arch is a holding company that owns each of the four operating

    companies - Shapes, Delair, Accu-Weld and Ultra.          The Debtors have over 1000

    employees, approximately 70% of whom are members of either Local 837, or the United

    Independent Union.




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                                   Schedules And Proofs Of Claim

           7.         On the Petition Date the Debtors filed their Statements of Financial

    Affairs, Schedules of Assets and Liabilities and Schedule of Executory Contracts and

    Unexpired Leases (the “Bankruptcy Materials”.)

           8.         Pursuant to this Court’s order, dated March 18, 2008, the Debtors retained

    Epiq Bankruptcy Solutions, L.L.C. (the “Claims Agent”) as their official claims and

    noticing agent.

           9.         On March 18, 2008, this Court entered an order pursuant to Bankruptcy

    Rules 2002(a)(7) and 3003(c)(3) establishing the deadline for proofs of claim and

    approving the form and manner of notice thereof [Dkt. No. 35] (the “Bar Date Order”).

           10.        Pursuant to the Bar Date Order, the deadline for all persons and entities to

    file proofs of claim against the Debtors for claims that arose on or prior to the Petition

    Date was May 15, 2008.

           11.        On May 19, 2008, the Debtors filed a motion to establish a bar date of

    June 30, 2008 for all administrative expense claims that accrued or arose on or prior to

    June 15, 2008.

           12.        On May 28, 2008, the Court entered an Order fixing an administrative

    claim bar date of June 30, 2008 for claims arising on or prior to June 15, 2008 (the

    “Administrative Claim Bar Date”).




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                 Approval of the Disclosure Statement and Bidding Procedures

           13.     On May 12 and 13, 2008, respectively, the Debtors filed their Second

    Amended Joint Plan (the “Second Amended Plan”) and disclosure statement. Although

    the Debtors, Arch Acquisition I, LLC (“Arch”) and the Committee had not agreed on all

    of the terms of the Second Amended Plan, it was filed in order to avoid a default under

    the terms of the Arch Amended DIP Agreement. The Second Amended Plan provided

    for a competitive process by which third parties would have an opportunity to conduct

    due diligence and participate in an auction to purchase the equity interests in Shapes/Arch

    (and thus obtain ownership of the equity interests in all of the Debtors) prior to the

    confirmation hearing.

           14.     On May 12, 2008, the Debtors filed a motion for approval of bid

    procedures (the “Bid Procedures Motion”) to:          (a) control the method by which

    potentially interested bidders would be able to obtain due diligence, (b) provide the

    procedures for parties submitting competing bids to follow, and (c) schedule and provide

    procedures for an auction, if qualified bids are submitted.

           15.     On May 20, 2008, the Court granted the Bid Procedures Motion, which

    required all competing bids to be submitted no later than June 25, 2008, and scheduled an

    auction for June 27, 2008, if qualified bids are submitted.

           16.     On May 23, 2008, the Court approved the disclosure statement (the

    “Disclosure Statement”) in support of the Debtors’ Third Amended Joint Plan (the “Third

    Amended Plan”). The Third Amended Plan was filed after the Debtors, Arch and the

    Committee had resolved the issues that had been outstanding at the time the Second




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    Amended Plan was filed. A hearing to consider confirmation of the Third Amended Plan

    is scheduled for July 8, 2008.

            17.    Confirmation of the Plan is expressly conditioned upon the execution of

    new collection bargaining agreements with the Debtors’ unions that are acceptable to

    Arch.


       Collective Bargaining Agreements and the Administrative Claim of Local 837

            18.    At the time the Third Amended Plan was filed, the Debtors were party to

    the following collective bargaining agreements (each a “CBA”): (a) one CBA between

    Shapes and Delair, on the one hand, and Local 837 on the other hand; (b) one CBA

    between Ultra and Local 837; and (c) three CBAs between Accu-Weld and the United

    Independent Union (“UIU”) each covering separate groups of employees. See, Third

    Amended Plan Section VII, sub-part G, para. 2.


            19.    Under the CBAs, the Debtors are required to make contributions on behalf

    of their employees to multi-employer defined benefit pension plans. Shapes, Delair and

    Ultra contribute to the Local 837 Pension Plan, while Accu-Weld contributes to the

    United Independent Union Pension Fund Trust .

            20.    On or about June 23, 2008, after extensive negotiations with Local 837

    and UIU over a period of several weeks, the Debtors executed new CBAs which replace




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    the current CBAs described in the Third Amended Plan. The agreements executed on or

    about June 23, 2008 are collectively referred to as the “Replacement Agreements.” 2

            21.    Pursuant to the Replacement Agreements, the current CBAs will terminate

    and the Debtors will permanently cease to have any obligation to contribute to either of

    the two multi-employer defined benefit pension plans. As a result, complete withdrawals

    from the two pension plans will occur on June 30, 2008, upon termination of the current

    CBAs. Since the Replacement CBAs do not provide for any further contributions to the

    pension plans, withdrawal liability under Section 4203 of the Employee Retirement

    Income Security Act (“ERISA”), 29 U.S.C. Section 1381, will be triggered.

            22.    On or about June 19, 2008, prior to the execution of the Replacement

    Agreements, Local 837 filed its proof of claim #774 asserting that the Debtors cessation

    of participation in the Local 837 Pension Plan would trigger the imposition of withdrawal

    liability pursuant to ERISA and that a portion of that withdrawal liability may be an

    administrative expense. On or about June 23, 2008, Local 837 filed a duplicate proof of

    claim #778 within which it asserted the same claim that was set forth in proof of claim

    #774.


                                        RELIEF REQUESTED
            23.    By this Objection, the Debtors seek an order of this Court, pursuant to 11

    U.S.C. §§ 105, 502(b) and 503, and Fed. R. Bankr P. 3007, reclassifying the

    administrative status of the Local 837 Pension Plan’s proof of claim to the status of a

    general unsecured claim and expunging their duplicate proof of claim.

    2
     The Debtor is party to the following Replacement CBAs: (a) one CBA between Shapes and
    Delair and Local 837; (b) one CBA between Ultra and Local 837; and (c) two CBAs
    between Accu-Weld and UIU (replacing the current CBAs between those parties).

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                                   BASIS FOR RELIEF REQUESTED

           24.       The Debtors and their advisors have reviewed the Local 837 Pension

    Plan’s proof of claim. Based upon such review, the Debtors have determined that the

    Local 837 Pension Plan’s proof of claim was filed with an incorrect priority status (and

    likely in an incorrect amount). That is, the Local 837 Pension Plan’s proof of claim

    asserts status as an “administrative” claim under Sections 507(a)(1) and 503(b) of the

    Bankruptcy Code on account of post-petition costs and fees which are not allowable as a

    matter of law.

           25.       Although the Local 837 Pension Plan asserts in its proof of claim that

    withdrawal liability is entitled to treatment as an administrative expense, the weight of

    authority indicates that withdrawal liability claims that arise after the petition date, and

    relate to labor provided by a debtor’s employees prior to the bankruptcy filing, are not

    entitled to administrative treatment and, instead, are treated as general unsecured claims.

           26.       The Second Circuit, in Trustees of the Amalgamated Insurance Fund v.

    McFarlin's Inc., 789 F.2d 98 (2d Cir. 1986), held that the withdrawal liability claim at

    issue could not qualify as an administrative expense because it was not incurred for the

    benefit of the estate's creditors. Id. at 103-04. The Court in McFarlin observed that the

    claim was calculated based upon the withdrawing employer's contributions to the fund

    for the period that preceded the bankruptcy filing. Id. at 103. Thus, the consideration

    supporting the withdrawal liability claim was the work of the employees during that pre-

    bankruptcy period. In other words, the consideration was not furnished for the benefit of

    the debtor-in-possession or for the continuation of the debtor's business after it filed for


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    bankruptcy. Id. The Second Circuit stated that its holding "finds support in decisions

    uniformly rejecting the argument that withdrawal liability is entitled to priority as an

    administrative expense..." Id. at 104.

           27.     The Tenth Circuit, in In re Bayly Corporation, 163 F.3d 1205 (10th Cir.

    1998), adopted the McFarlin court's reasoning in support of its holding denying

    administrative expense priority for Pension Benefit Guarantee Corporation’s (“PBGC”)

    claim for termination liability. In Bayly, the Tenth Circuit analogized the PBGC's claims

    to withdrawal liability claims that are asserted by multi-employer pension plans and

    observed that courts have uniformly concluded that withdrawal liability based on benefits

    earned as a result of pre-petition labor constitute a pre-petition contingent liability. As

    such, withdrawal liability claims are denied priority treatment even though the

    withdrawal occurred post-petition. Id. at 1209. The Bayly Court stated that the same

    logic was applicable to the PBGC's claims and held that such claims were not entitled to

    administrative priority. Id. at 1210.

           28.     The Bayly court stated further that simply because the PBGC's contingent

    claim became liquidated by virtue of the post-petition termination, the claim would not be

    elevated to the status of an administrative claim. The court explained that the PBGC's

    right to payment of unfunded benefit liabilities at plan termination constituted:


                  a classic example of a contingent claim - one which the debtor will
                  be called upon to pay only upon the occurrence or happening of an
                  extrinsic event. If the extrinsic event occurs post-petition, the
                  contingent claim simply becomes a liquidated one; it, however, is
                  not thereby elevated to the status of a post-petition claim. Here,
                  the extrinsic event was plan termination, which simply fixed
                  [debtor's] liability to PBGC.



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    Id. at 1210, 1211.
           29.     Courts within the Third Circuit have also concluded that withdrawal

    liability claims triggered by a post-petition withdrawal from a pension plan constitute

    general unsecured claims. The Bankruptcy Court for the District of New Jersey, in In re

    Brinke Transportation, Inc., 1989 WL 233147 (Bankr. D.N.J. 1989), cited McFarlin in

    support of its holding that all claims for withdrawal liability constitute pre-petition

    general unsecured claims. Id. at *5, 6. The Bankruptcy Court observed that because

    withdrawal liability is calculated based upon the employer's past, pre-petition

    contributions, the subject claim did not warrant administrative priority status. Also,

    decisions from the Bankruptcy Court for the Eastern District of Pennsylvania concur with

    this result. See In re Great Northeastern Lumber & Millwork Corp., 64 B.R. 426, 428

    (Bankr. E.D.Pa. 1986) (applying the general rule that withdrawal liability is not an

    administrative expense unless it is attributable to wages earned after the bankruptcy

    filing); In re Malone, 74 B.R. 315, 322 (Bankr. E.D.Pa. 1987) (denying administrative

    treatment for withdrawal liability claim and citing McFarlin for the proposition that a

    debt is not an administrative expense simply because the right to payment arises after the

    bankruptcy filing).


           30.     The Debtors acknowledge that there is a minority view, taken by some

    courts that are not binding precedent on this Court, that a claim for withdrawal liability

    may be afforded administrative status, but only as to that portion of the claim attributable

    to the post-petition period. See In re Cott Corp., 47 B.R. 487, 494-95 (Bankr. D.Conn.

    1984) (noting that the claim can be divided into two parts based upon the pre-petition and

    post-petition periods); In re Sunarhauserman, Inc., 184 B.R. 279, 283 (Bankr. N.D. Ohio


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    1995) (affording administrative treatment to post-petition portion of the withdrawal

    liability claim).

            31.     As the majority of courts (including two Courts of Appeal) have indicated,

    withdrawal liability claims that arise after the petition date, and relate to labor provided

    by a debtor’s employees prior to the bankruptcy filing, are not entitled to administrative

    treatment and should be treated as general unsecured claims. However, should this Court

    adopt the minority view and pro-rate withdrawal liability, the post-petition amount

    eligible for administrative status would be de minimus given that the Debtors, in this case,

    will have withdrawn from the Local 837 Pension Plan approximately three and one half

    months after the Petition Date, while they have been contributing to the Local 837

    Pension Plan for at least 25 years. As such, if an allocation were performed as the Courts

    adopting the minority view suggest, then the amount entitled to administrative expense

    status would be a very small fraction of the total obligation – likely less than one percent

    (1%) of the claim.

            32.     For the foregoing reasons, Local 837 Pension Plan’s proof of claim asserts

    a priority status to which it is not entitled. Therefore, pursuant to Sections 105, 502(b)(1)

    and 503 of the Bankruptcy Code and applicable case law, the Court should reclassify the

    asserted “administrative” status of this claim to “general unsecured” and direct the

    Claims Agent to modify the Claims Registry accordingly.


                                              Duplicate Claim
            33.     Pursuant to Bankruptcy Rule 3007(d)(1), the Debtors hereby object to the

    duplicate claim identified as claim no. 778 on the claims register.




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           34.     If this duplicate claim is not formally expunged or disallowed, the

    potential exists for double recovery by the Local 837 Pension Plan. The elimination of

    this duplicate claim will streamline the claims process and enable the Debtors to maintain

    a more accurate claims register.

           35.     Accordingly, the Debtors request that the Court enter an order expunging

    and disallowing the duplicate proof of claim by the Local 837 Pension Plan identified on

    the claims register as claim no. 778.

                                        RESERVATION
           36.     The Debtors expressly reserve and preserve the right to file later

    objections to the Local 837 Pension Plan’s “Remaining Claim,” as to the amount (which

    the Debtors anticipate disputing at a later time) and/or allowability of the claim on any

    grounds that bankruptcy or non-bankruptcy law permits. Separate notice and hearing will

    be scheduled for any such objection.




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                                              NOTICE

           37.     Notice of this Motion has been provided to: (a) counsel for CIT, (b)

    counsel for Arch, (c) the Office of the United States Trustee, (d) counsel for the

    Teamsters Local 837 Pension Fund at the address specified on the Proof of Claim, and (e)

    all parties on the Master Service List. In light of the nature of the relief requested herein,

    the Debtors submit that no further notice is necessary.


           WHEREFORE, the Debtors respectfully request that the Court approve an order

    granting the relief requested and such other and further relief as is just and proper.


    Dated: June 27, 2008                           COZEN O’CONNOR

                                                   By:       /s/ Jerrold N. Poslusny, Jr.
                                                         Mark E. Felger
                                                         Jerrold N. Poslusny, Jr.

                                                         Attorneys for the Debtors




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